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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7       TEKION CORP.,                                     Case No. 24-cv-08879-JSC
                                                           Plaintiff,
                                   8
                                                                                             ORDER RE: CDK’S MOTION TO
                                                    v.                                       DISMISS TEKION’S COMPLAINT
                                   9

                                  10       CDK GLOBAL, LLC,                                  Dkt. No. 23
                                                           Defendant.
                                  11

                                  12
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                                  13              Tekion Corp. (“Tekion”) sues CDK Global, LLC, (“CDK”) for alleged antitrust violations.

                                  14   (Dkt. No. 1.)1 CDK now moves to dismiss Tekion’s Sherman Act claims under Federal Rule of

                                  15   Civil Procedure 12(b)(6), and asks the Court not to exercise jurisdiction over Tekion’s remaining

                                  16   claims. (Dkt. No. 23.) After careful consideration of the parties’ briefing, and having had the

                                  17   benefit of oral argument on June 26, 2025, the Court DENIES CDK’s motion.

                                  18                                             BACKGROUND

                                  19         I.      Complaint Allegations

                                  20              Auto dealership management systems (“DMS”) are software products that enable

                                  21   dealerships to access and maintain critical data, such as “inventory management,” “sales and

                                  22   finance,” and “service and parts operations.” (Dkt. No. 1 ¶ 1, 3.) “Franchise dealers typically

                                  23   spend more on their DMS than on any other software product they use.” (Id. ¶ 3.) “CDK is the

                                  24   incumbent industry giant in the DMS market for franchise dealers.” (Dkt. No. 1 ¶ 2.) It holds a

                                  25   market share of “approximately 60% by revenue, and its share of the submarket for large

                                  26   enterprise franchise dealers in the United States is even greater.” (Id.) Further, five of the “six

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                                        Record citations are to material in the Electronic Case File (“ECF”); pinpoint citations are to the
                                       ECF-generated page numbers at the top of the documents.
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                                   1   largest public dealer groups—Asbury, AutoNation, Group 1, Lithia, and Sonic—use CDK as their

                                   2   primary DMS.” (Id. ¶ 54.)

                                   3          There are many barriers to entry into the franchise DMS market, including the complexity

                                   4   of the DMS product, that “a DMS must be integrated with every OEM [“original equipment

                                   5   manufacturer”],” and that dealers are “cautious about switching to a new provider.” (Id. ¶ 5.)

                                   6   Because CDK’s DMS is “antiquated” (id. ¶ 6), Tekion “entered the franchise DMS market in

                                   7   2016” and its DMS now “poses a significant competitive threat to CDK’s position in the DMS

                                   8   market for franchise dealers and CDK is well aware of that threat.” (Id. ¶ 7.)

                                   9          “CDK’s most frequent anticompetitive practice has been to abuse its ability to control

                                  10   access to the data belonging to franchise dealerships.” (Id. ¶ 10.) Specifically, when dealerships

                                  11   attempt to migrate their data from the CDK DMS to a competing DMS, CDK requires “several

                                  12   months” to do so. (Id.) “Historically, DMS providers, including CDK, facilitated dealership
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                                  13   access to their own data, including for the purpose of data migrations to different DMS providers.”

                                  14   (Id. ¶ 11.) But now, CDK has engaged in tactics which “include forcing dealerships to work

                                  15   exclusively through CDK to access and transfer the dealerships’ own data[,] restricting dealerships

                                  16   to a rudimentary CDK self-help tool that provides incomplete data in an irregular and unusable

                                  17   format.” (Id.) Further, CDK has continually “refus[ed] to commit to or honor a reliable data

                                  18   transfer schedule, including by pretextually terminating CDK service with insufficient time and

                                  19   access to the dealerships’ data; and threatening and then instituting legal action against those, …,

                                  20   who seek to switch to competitors.” (Id.) Beginning in early 2023, “CDK began to withhold

                                  21   approvals necessary to facilitate data transfers to Tekion, demanding that dealers seeking to obtain

                                  22   their data to perform a DMS transition first pay any accounts receivable.” (Id. ¶ 40.) Though this

                                  23   process would typically take 30 days, CDK began withholding approval for much longer. (Id.) In

                                  24   one instance, it withheld approval, “the first step in the migration process, for 159 days.” (Id.) In

                                  25   other instances, CDK would force dealerships to conduct migration from its DMS on timelines

                                  26   that made it impossible for those dealers to transfer their data to a new DMS without serious

                                  27   disruptions to their business. (Id. ¶ 41.)

                                  28          “In January 2024, Tekion announced a partnership with Asbury, which has approximately
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                                   1   158 dealerships across 15 states,” in which Asbury would use Tekion’s DMS in four dealerships.

                                   2   (Id. ¶ 8.) But on “January 25, 2024, contrary to its routine past practice of processing Asbury’s

                                   3   data requests, CDK informed Asbury that it would first need to send a ‘cancellation request.’” (Id.

                                   4   ¶ 45.) Asbury subsequently sent a cancellation request but “CDK continued to refuse to transfer

                                   5   the data, directing Asbury to obtain the data itself through an inadequate customer self-help tool.

                                   6   The self-help tool did not provide complete and reliable data sets that Asbury needed for the

                                   7   Tekion pilot program with the four dealerships.” (Id.) And when Asbury later attempted to access

                                   8   its data on CDK’s DMS, “CDK sent Asbury a cease-and-desist letter and subsequently disabled

                                   9   that Asbury account.” (Id.) CDK sued Asbury a few months later in Illinois and, in response,

                                  10   Asbury instituted its own action against CDK in Georgia. (Id. ¶¶ 46-47.) CDK then withdrew its

                                  11   Illinois complaint. (Id. ¶ 48.) In August 2024, the Georgia court “found against CDK and

                                  12   enjoined it to provide Asbury with the data necessary for Asbury’s Tekion pilot program.” (Id. ¶¶
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                                  13   48-51.)

                                  14             CDK has refused to release data for at least “Asbury, Doral, Regal, Lou Bachrodt Auto

                                  15   Mall, and Universal,” all dealers who use its DMS. (Id. ¶ 53.) “Since the start of 2023, at least 62

                                  16   dealerships have been forced to postpone their Tekion Go-Live date, collectively resulting in

                                  17   significant losses to Tekion, increased implementation costs, unpredictability of its

                                  18   implementation calendar, and poor onboarding experiences for its customers.” (Id.)

                                  19      II.       Procedural Background

                                  20             Tekion sues CDK for (1) monopolization under § 2 of the Sherman Antitrust Act, (2)

                                  21   attempted monopolization, (3) tortious interference with contract under state law, (4) tortious

                                  22   interference with prospective economic advantage under state law, (5) unfair business practices

                                  23   under the Unfair Competition Law (“UCL”), and (6) declaratory judgment that its manner of

                                  24   accessing dealer data from CDK’s DMS is not unlawful. (Id.)

                                  25             Tekion sued CDK in December 2024. (Id.) On February 10, 2025, CDK moved to

                                  26   dismiss Tekion’s complaint under Federal Rule of Civil Procedure 12(b)(6), and instituted its own

                                  27   action against both Tekion and InDesign, seeking to enjoin their access to dealer data housed in

                                  28   CDK’s DMS. The Court then related the cases. (Dkt. No. 27.) Before the parties had fully
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                                   1   briefed the motion to dismiss in the present matter, CDK moved for a preliminary injunction in the

                                   2   related case. CDK v. Tekion et al., No. 25-cv-01394 (Dkt. No. 45). That motion, and InDesign’s

                                   3   motion to dismiss CDK’s claims, is addressed in a separate order.

                                   4           Now pending before the Court is CDK’s motion to dismiss Tekion’s Sherman Act claims

                                   5   under Federal Rule of Civil Procedure 12(b)(6) and for the Court to decline to exercise

                                   6   supplemental jurisdiction over Tekion’s state law claims, and deny jurisdiction over Tekion’s

                                   7   declaratory relief claim. (Id.)

                                   8                                               ANALYSIS

                                   9      I.      Sherman Act Claims (Causes of Action 1 & 2)

                                  10           Section 2 of the Sherman Act “makes it unlawful to ‘monopolize, or attempt to

                                  11   monopolize, or combine or conspire ... to monopolize’ a market.” Epic Games, Inc. v. Apple, Inc.,

                                  12   67 F.4th 946, 998 (9th Cir. 2023) (quoting 15 U.S.C. § 2).. “To establish liability under § 2, a
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                                  13   plaintiff must show: (a) the possession of monopoly power in the relevant market; (b) the willful

                                  14   acquisition or maintenance of that power; and (c) causal antitrust injury.” Fed. Trade Comm’n v.

                                  15   Qualcomm Inc., 969 F.3d 974, 990 (9th Cir. 2020) (cleaned up). (cleaned up).

                                  16           CDK argues Tekion fails to plausibly allege all three elements of its § 2 claims.

                                  17              A. Monopoly Power

                                  18           “To state a monopolization claim, [a plaintiff] must start by plausibly alleging that the

                                  19   defendant has monopoly power in the relevant market.” CoStar Grp. v. Comm. Real Est. Exch, ---

                                  20   F.4th ---, 2025 WL 1730270, at *4 (9th Cir. 2025) (citing Cost Mgmt. Servs., Inc. v. Wash. Nat.

                                  21   Gas Co., 99 F.3d 937, 949 (9th Cir. 1996)). Monopoly power is “the substantial ability ‘to control

                                  22   prices or exclude competition.’” Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 998 (9th Cir.

                                  23   2023), cert. denied, 144 S. Ct. 681 (2024), and cert. denied, 144 S. Ct. 682 (2024) (quoting United

                                  24   States v. Grinnell Corp., 384 U.S. 564, 571 (1966)). Monopoly power requires “something

                                  25   greater” than market power. Id. (quoting Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S.

                                  26   451, 481 (1992) (“Kodak”)). “[M]onopoly power can be shown either directly, through evidence

                                  27   of the exercise of monopoly power, or indirectly, through evidence of a firm’s predominant market

                                  28   share.” CoStar, 2025 WL 1730270, at *6 (citing Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d 1421,
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                                   1   1434 (9th Cir. 1995); Epic Games, 67 F.4th at 998).

                                   2          When pleading market power by circumstantial or indirect evidence, a plaintiff must “(1)

                                   3   define the relevant market, (2) show that the defendant owns a dominant share of that market, and

                                   4   (3) show that there are significant barriers to entry and show that existing competitors lack the

                                   5   capacity to increase their output in the short run.” Kodak, 125 F.3d at 1202 (cleaned up). Courts

                                   6   “generally require a 65% market share to establish a prima facie case of market power,” id. at

                                   7   1206, but “a market share as low as 45-70% may support a finding of monopoly power, if

                                   8   accompanied by other relevant factors.” Movie 1 & 2 v. United Artists Commc’ns, Inc., 909 F.2d

                                   9   1245, 1254 (9th Cir. 1990); see also CoStar, 2025 WL 1730270 at (“[M]arket shares on the order

                                  10   of 60 percent to 70 percent have supported findings of monopoly power.”) (cleaned up).

                                  11          Tekion plausibly alleges, through circumstantial evidence, CDK possesses monopoly

                                  12   power in the DMS market for franchise dealerships and in the submarket for large enterprise
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                                  13   franchise dealers in the United States. “CDK is the incumbent industry giant in the DMS market

                                  14   for franchise dealers. Its share of this market is approximately 60% by revenue, and its share of

                                  15   the submarket for large enterprise franchise dealers in the United States is even greater.” (Dkt.

                                  16   No. 1 ¶¶ 2, 30.) The DMS market is “concentrated” and the CEO of a DMS consulting firm

                                  17   estimated CDK “is the dominant leader, with about 60 percent of the market.” (Id. ¶ 29.) And

                                  18   “five out of the six largest public dealer groups—Asbury, AutoNation, Group 1, Lithia, and

                                  19   Sonic—use CDK as their primary DMS.” (Id. ¶ 54.) Further, “[h]igh barriers to entry perpetuate

                                  20   CDK’s market power” and “new entrants into the franchise DMS market are rare.” (Id. ¶¶ 68-70.)

                                  21   Such barriers include that “DMS is a sophisticated and specialized product essential to users in a

                                  22   regulated industry of national importance,” and “DMS contracts are often long, and switching to a

                                  23   new DMS system is expensive, time-consuming, and risky.” (Id. ¶ 68.) These allegations

                                  24   plausibly support an inference that CDK “owns a dominant share” of both defined markets and

                                  25   that “there are significant barriers to entry and [] that existing competitors lack the capacity to

                                  26   increase their output in the short run.” Kodak, 125 F.3d at 1202 (cleaned up).

                                  27          CDK’s arguments to the contrary are unavailing. First, CDK cites other cases where

                                  28   plaintiffs have alleged CDK commands a smaller market share and where, at summary judgment,
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                                   1   a court found CDK owned “over 40% of the market.” See Authenticom, Inc. v. CDK Global, LLC,

                                   2   874 F.3d 1019, 1022 (9th Cir. 2017); In re Dealer Mgmt. Sys. Antitrust Litig., 680 F. Supp. 3d

                                   3   919, 941 (N.D. Ill. 2023); In re Dealer Mgmt. Sys. Antitrust Litig., 313 F. Supp. 3d 931, 939 (N.D.

                                   4   Ill. 2018). CDK asks the court take judicial notice of these cases to establish its market share is

                                   5   less than 45%. (Dkt. No. 23 at 16 & n.3.) But “when a court takes judicial notice of another

                                   6   court’s opinion, it may do so not for the truth of the facts recited therein, but for the existence of

                                   7   the opinion, which is not subject to reasonable dispute over its authenticity.” Lee v. City of Los

                                   8   Angeles, 250 F.3d 668, 690 (9th Cir. 2001) (cleaned up). CDK does not explain how the Court

                                   9   can disregard Tekion’s well-pleaded allegations about market share in favor of other courts’

                                  10   rulings on different records and in cases where Tekion was not a party. It can’t.

                                  11          Second, CDK argues its alleged 60% market share is legally inadequate as a matter of law.

                                  12   But the Ninth Circuit previously held “a market share as low as 45-70% may support a finding of
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                                  13   monopoly power, if accompanied by other relevant factors.” Movie 1 & 2, 909 F.2d at 1254. And

                                  14   in CoStar it reiterated that “[m]arket shares on the order of 60 percent to 70 percent have

                                  15   supported findings of monopoly power.” CoStar, 2025 WL 1730270, at *7 (quoting Hunt-Wesson

                                  16   Foods, Inc. v. Ragu Foods, Inc., 627 F.2d 919, 924-25 (9th Cir. 1980)). Since Tekion alleges

                                  17   CDK had 60% market share and that 5 of the 6 major public dealer groups use CDK, drawing

                                  18   reasonable inferences in Tekion’s favor and taking the allegations as true, this is sufficient to plead

                                  19   monopoly power at this stage.

                                  20          Third, CDK argues the complaint fails to plausibly plead monopoly power because Tekion

                                  21   relies on an unreliable, inaccessible article for its allegation that CDK has 60% market share. But

                                  22   monopoly power within a relevant market need not “be pled with specificity.” Newcal Indus., Inc.

                                  23   v. Ikon Off. Sol., 513 F.3d 1038, 1045 (9th Cir. 2008) (citing Cost Mgmt. Servs., Inc. v.

                                  24   Washington Nat. Gas Co., 99 F.3d 937, 950 (9th Cir. 1996)). And “the actual existence of

                                  25   [CDK’s] market power within the alleged [market and] submarket is a factual question.” Id. at

                                  26   1051. So, at the pleading stage “a rough estimate of the defendant’s market share is sufficient” to

                                  27   state a claim. Klein v. Facebook, Inc., 580 F. Supp. 3d 743, 777 (N.D. Cal. 2022) (citations

                                  28   omitted). And courts have held plaintiffs properly allege market share even when they “did not
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                                   1   provide any explanation for how they calculated market share, let alone any specific facts that

                                   2   could support such calculations.” Id. (collecting cases). Here, Tekion’s allegations of market

                                   3   power are not baseless. Tekion alleges five of the six largest public dealer groups use CDK as

                                   4   their DMS, (Dkt. No. 1 ¶ 54) and that the 60% market share figure is based on statements from “a

                                   5   DMS consulting firm that helps dealerships with major vendors.” (Id. ¶ 29.) And “over 50% of

                                   6   Honda/Acura dealers were on CDK’s DMS” in 2021, (id. ¶ 60) and CDK was recently purchased

                                   7   “for roughly $8.7 billion.” (Id. ¶ 17.) Taken together, Tekion plausibly alleges its market share

                                   8   estimate.

                                   9           Finally, CDK urges use of revenue to estimate market share is an invalid measure of

                                  10   market power as a matter of law. But CDK provides no case law that holds revenue cannot be

                                  11   used as a measure of market share. To the contrary, courts have accepted revenue to calculate

                                  12   market power. See, e.g., Klein, 580 F. Supp. 3d at 776-77 (using advertising revenue as a measure
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                                  13   for market share); Gamboa v. Apple Inc., No. 24-cv-01270-EKL, 2025 WL 1684890, at *2 (N.D.

                                  14   Cal. June 16, 2025) (holding allegation that the defendant had monopoly power based on its share

                                  15   of revenue in the market was sufficient on a motion to dismiss.); cf Fed. Trade Comm’n v. Meta

                                  16   Platforms Inc., No. 22-cv-04325-EJD, 2023 WL 8629125, at *18 (N.D. Cal. Dec. 13, 2023)

                                  17   (holding an expert’s calculation of market share using each firm’s revenue was sufficient on a

                                  18   preliminary injunction record to make a prima facie showing of market concentration). At the

                                  19   pleading stage, the Court must draw reasonable inferences in Tekion’s favor. Accordingly, absent

                                  20   case law to the contrary, the Court cannot foreclose Tekion’s current method of alleging market

                                  21   share at this stage.

                                  22           So, Tekion plausibly pleads CDK has monopoly power.

                                  23               B. Anticompetitive Conduct

                                  24           “Anticompetitive conduct is behavior that tends to impair the opportunities of rivals and

                                  25   either does not further competition on the merits or does so in an unnecessarily restrictive way.”

                                  26   Cascade Health Sols. v. PeaceHealth, 515 F.3d 883, 894 (9th Cir. 2008). “To be condemned as

                                  27   exclusionary, a monopolist’s act must have an anticompetitive effect—that is, it must harm the

                                  28   competitive process and thereby harm consumers,” so merely alleging “harm to one or more
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                                   1   competitors will not suffice.” Qualcomm Inc., 969 F.3d at 990.

                                   2           Tekion alleges CDK engaged in anticompetitive conduct by “withholding or delaying

                                   3   dealers’ access to their own data, thereby preventing, delaying, and foreclosing dealers from

                                   4   switching to a competing franchise DMS, and threatening and initiating legal action against

                                   5   dealers that intend to switch from CDK’s DMS.” (Dkt. No. 1 ¶ 83.) This conduct harms

                                   6   competition because it chills dealerships from otherwise choosing to migrate to a different DMS

                                   7   provider. So, instead of competing on the merits of their respective products, CDK’s conduct

                                   8   forces dealers to stay with CDK’s product for longer than desired. Thus, CDK’s actions “unfairly

                                   9   tends to destroy competition itself.” United States v. Microsoft Corp., 253 F.3d 34, 58 (D.C. Cir.

                                  10   2001)

                                  11            CoStar is instructive. CoStar, 2025 WL 1730270, at *11. There, a competitor in the

                                  12   online real estate listing space alleged brokers who used CoStar for their online listings were
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                                  13   unable to migrate listings from CoStar to a competitor. Id. CoStar had blocked access to these

                                  14   public listings only as to its competitors, so that “there is no practicable way for brokers to do

                                  15   business with” CoStar’s competitors. Id. The Ninth Circuit held the competitor plausibly alleged

                                  16   CoStar’s anticompetitive conduct. Similarly, here, CDK’s conduct of preventing, delaying, and

                                  17   foreclosing dealers from switching to other platforms by withholding dealership data on its DMS

                                  18   and initiating legal action against dealers that intend to switch makes it impracticable for dealers to

                                  19   do business with other DMS products. As alleged, and drawing reasonable inferences in Tekion’s

                                  20   favor, the conduct “protects [CDK’s] monopoly in a manner not attributable to competition on the

                                  21   merits.” Id. (citing United States v. Microsoft, 253 F.3d 34, 76-77 (D.C. Cir. 2001)).

                                  22           CDK insists its alleged conduct is insufficient to constitute anticompetitive conduct as a

                                  23   matter of law because “there is ‘no duty to deal under the terms and conditions preferred by [a

                                  24   competitor’s] rivals.’” Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1184 (9th Cir.

                                  25   2016) (quoting Pac. Bell. Tel. Co. v. Linkline Commc’ns, Inc., 555 U.S. 438, 457 (2009).

                                  26   Specifically, “the Sherman Act does not restrict the long[-]recognized right of [a] trader or

                                  27   manufacturer engaged in an entirely private business, freely to exercise his own independent

                                  28   discretion as to parties with whom he will deal.” Qualcomm, 969 F.3d at 993 (cleaned up). So,
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                                   1   CDK argues, its alleged refusal to conduct business (namely data migration) under terms favorable

                                   2   to its competitors cannot, as a matter of law, form the basis for a § 2 claim. But while

                                   3   “‘[c]ompetitors are not required to engage in a lovefest,’” Qualcomm, 969 F.3d at 993 (quoting

                                   4   Aerotec Int’l, 836 F.3d at 1184), Tekion does not allege that CDK should be required to deal under

                                   5   Tekion’s preferred terms, but that its conduct toward dealers impedes the dealers’ ability to

                                   6   migrate to other DMS providers, thus protecting CDK’s monopoly “in a manner not attributable

                                   7   to competition on the merits.” CoStar, 2025 WL 1730270, at *11 (citing United States v.

                                   8   Microsoft, 253 F.3d 34, 76-77 (D.C. Cir. 2001)).

                                   9           Qualcomm does not suggest otherwise. There, Qualcomm held monopoly power in

                                  10   cellphone modem chips and licensed its patents only at the OEM level. Qualcomm, 969 F.3d at

                                  11   983-84. In other words, Qualcomm made the decision not to license its patents “further upstream”

                                  12   to its rivals, thus ensuring its rivals would not reap the benefits of the license to its patents. Id. at
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                                  13   984-85. “Because rival chip manufacturers practice many of Qualcomm’s [patents] by necessity,”

                                  14   Qualcomm offered its rivals agreements whereby it would not assert its patents against them so

                                  15   long as they would not sell chips to unlicensed OEMs. Id. The court held this conduct on its own

                                  16   was not anticompetitive under the Sherman Act because it constituted harm to competitors, not “to

                                  17   competition itself.” Id. at 996 (citing Microsoft, 253 F.3d at 58.) Specifically, Qualcomm’s

                                  18   agreements with rival chip manufacturers functioned as “de facto licenses” so that the rivals were

                                  19   not deterred from entering the market, and its licensing arrangements were “chip-supplier neutral”

                                  20   because it collected surcharges from all OEMs, not just those that contracted with its rivals. Id.

                                  21   Here, by contrast, the alleged anticompetitive conduct only targets dealerships that seek to migrate

                                  22   from CDK to its rivals, thus harming competition.

                                  23           Finally, CDK argues judicially noticeable material undermines complaint allegations of

                                  24   anticompetitive conduct and intent. (Dkt. No. 23 at 25-26.) Specifically, CDK points to a

                                  25   LinkedIn post where one dealer blames CDK’s data migration delays on a security breach and

                                  26   Asbury’s executives’ statements that its pilot program has seen promising results. (Id.) Because

                                  27   Tekion does not oppose judicial notice of these documents, the Court takes notice of them. But,

                                  28   and as explained above, the Court cannot accept judicially-noticed documents for the truth of the
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                                   1   matter stated. Lee v. City of Los Angeles, 250 F.3d 668, 690 (9th Cir. 2001). So, this material adds

                                   2   nothing to the 12(b)(6) analysis. Finally, even accepting the statements for their truth, they do not

                                   3   undermine Tekion’s allegations that CDK engaged in anticompetitive conduct when drawing

                                   4   inferences in Tekion’s favor and considering the complaint as a whole. CDK’s arguments

                                   5   improperly ask the Court to weigh evidence and draw inferences in its favor. In short, when

                                   6   drawing inferences in Tekion’s favor and taking its well-pleaded allegations as true, CDK’s

                                   7   evidence does not require dismissal at this early litigation stage.

                                   8           So, Tekion plausibly alleges CDK’s actions constitute anticompetitive conduct.

                                   9               C. Antitrust Injury

                                  10           “[C]ausal antitrust injury is a substantive element of an antitrust claim, and the fact of

                                  11   injury or damage must be alleged at the pleading stage.” Somers v. Apple, Inc., 729 F.3d 953, 963

                                  12   (9th Cir. 2013) (citations omitted). And “[t]he antitrust laws ‘were enacted for the protection of
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                                  13   competition, not competitors.’” Gorlick Distrib. Ctrs., LLC v. Car Sound Exhaust Sys., Inc., 723

                                  14   F.3d 1019, 1024 (9th Cir. 2013) (quoting Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S.

                                  15   477, 488 (1977)). Harm to competition includes “reduced output, increased prices, or decreased

                                  16   quality in the relevant market.” PLS.Com, LLC v. Nat’l Ass’n of Realtors, 32 F.4th 824, 834 (9th

                                  17   Cir. 2022) (cleaned up).

                                  18           Tekion has plausibly alleged antitrust injury. The complaint alleges dealerships would

                                  19   prefer to use other DMS products because the CDK DMS is outdated (Dkt. No. 1 ¶ 54), so there is

                                  20   “decreased quality in the relevant market.” PLS.Com, 32 F.4th at 834. And it alleges CDK’s

                                  21   actions have “prevented, delayed, and discouraged dealers from switching DMS providers,” (Dkt.

                                  22   No. 1 ¶ 72), thus “depriving [DMS] customers of the benefits of competition.” Am. President

                                  23   Lines, LLC v. Matson, Inc., 633 F. Supp. 3d 209, 221 (D.D.C. 2022). So, Tekion plausibly alleges

                                  24   antitrust injury.

                                  25           CDK focuses on Tekion’s allegations about harm it sustained from CDK’s actions—such

                                  26   as reduced revenue—to argue Tekion does not allege harm to competition. But CDK fails to

                                  27   acknowledge Tekion alleges both harms to itself and to competition. That CDK’s alleged

                                  28   anticompetitive conduct harms Tekion as well as competition does not mean Tekion cannot state a
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                                   1   section 2 claim.

                                   2                                             *          *        *

                                   3          So, Tekion plausibly pleads CDK has monopoly power in the DMS market for franchise

                                   4   dealerships and in the submarket for large enterprise franchise dealers in the United States, that

                                   5   CDK engaged in anticompetitive conduct, and that its conduct had a deleterious effect on

                                   6   competition, harming consumers. Thus, CDK’s motion to dismiss Tekion’s § 2 claim of

                                   7   monopolization is DENIED.

                                   8              D. Attempted Monopolization

                                   9          CDK’s basis for dismissal of the attempted monopolization claim is that Tekion fails to

                                  10   allege its first claim. Therefore, having held Tekion plausibly alleges its monopolization claim,

                                  11   CDK’s motion to dismiss the attempted monopolization claim is also DENIED.

                                  12              E. Section 2 Violation Based on Tying
Northern District of California
 United States District Court




                                  13          “Tying is defined as an arrangement where a supplier agrees to sell a buyer a product (the

                                  14   tying product), but ‘only on the condition that the buyer also purchases a different (or tied)

                                  15   product.’” Brantley v. NBC Universal, Inc., 675 F.3d 1192, 1199 (9th Cir. 2012) (quoting N. Pac.

                                  16   Ry. So. v. United States, 356 U.S. 1, 5 (1958)). Though Tekion makes some passing allegations

                                  17   about CDK “attempting to tie” one of its products to its DMS (Dkt. No. 1 ¶¶ 56-61), in opposition

                                  18   it represents “Tekion did not make a standalone tying claim.” (Dkt. No. 36 at 25.) Since no tying

                                  19   claim is made, there is no tying claim to dismiss.

                                  20              F. Declaratory Relief Claim / Supplemental Jurisdiction over State Law Claims

                                  21          The Court has discretion to exercise jurisdiction over claims under the Declaratory

                                  22   Judgment Act and to exercise supplemental jurisdiction over state law claims asserted with

                                  23   underlying federal law claims when those claims have been dismissed. See Wilton v. Seven Falls

                                  24   Co., 515 U.S. 277, 286 (1995) (holding federal courts have “unique and substantial discretion in

                                  25   deciding whether to declare the rights of litigants.”); Acri v. Varian Assocs., Inc., 114 F.3d 999,

                                  26   1000 (9th Cir.), supplemented, 121 F.3d 714 (9th Cir. 1997), as amended (Oct. 1, 1997) (holding a

                                  27   “federal district court with power to hear state law claims has discretion to keep, or decline to

                                  28   keep, them under the conditions set out in § 1367(c)”). CDK asks the Court to dismiss both sets of
                                                                                         11
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                                   1   claims if the Court dismisses the underlying Sherman Act claims. The Court having determined

                                   2   Tekion plausibly pleads its Sherman Act claims, it likewise exercises jurisdiction over the

                                   3   declaratory relief and state law claims. So, CDK’s motion to dismiss these claims is likewise

                                   4   DENIED.

                                   5                                            CONCLUSION

                                   6          For the reasons stated above, the Court DENIES CDK’s motion to dismiss. CDK shall

                                   7   answer the complaint within 30 days of the date of this Order.

                                   8          This Order disposes of Docket No. 23.

                                   9          IT IS SO ORDERED.

                                  10   Dated: July 15, 2025

                                  11

                                  12
Northern District of California
 United States District Court




                                                                                                   JACQUELINE SCOTT CORLEY
                                  13                                                               United States District Judge
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